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Transcript of Corey A. Price
                     Date: September 9, 2022
        Case: State of Florida -v- United States of America




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         WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
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                                                                        1              UNITED STATES DISTRICT COURT
                                                                        2           for the Northern District of Florida
                                                                        3    ------------------------------------------------
                                                                        4    STATE OF FLORIDA,
                                                                        5                    Plaintiff,
                                                                        6     v.
                                                                        7    UNITED STATES OF AMERICA, et al.,
                                                                        8                    Defendant.
                                                                        9    ------------------------------------------------
                                                                        10
                                                                        11             Deposition of COREY A. PRICE
                                                                        12                      Washington, DC
                                                                        13               Friday, September 9, 2022
                                                                        14                       11:00 a.m.
                                                                        15
                                                                        16
                                                                        17
                                                                        18
                                                                        19
                                                                        20   Job:   463273
                                                                        21   Pages:   1 - 155
                                                                        22   Transcribed by:    Pamela A. Flutie
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                                                                        1        A.   I don't recall the total number
                                                                        2    exactly, but that sounds correct.
                                                                        3        Q.   Okay.     The Biden administration ended
                                                                        4    the detention of family units, right?
                                                                        5        A.   Correct.
                                                                        6        Q.   Okay.     And ICE is repurposing the
                                                                        7    family -- family residential centers to house
                                                                        8    single adults, correct?
                                                                        9        A.   Correct.
                                                                        10       Q.   Okay.     Once repurposed, ICE will lose
                                                                        11   the ability to detain families unless it
                                                                        12   reconfigures or builds new facilities, correct?
                                                                        13            MR. DARROW:        Objection.
                                                                        14       A.   Could you repeat that one more time?
                                                                        15       Q.   Sure.     Once repurposed, ICE will lose
                                                                        16   the ability to detain families unless it
                                                                        17   reconfigures or builds new facilities, right?
                                                                        18            MR. DARROW:        Objection.
                                                                        19       A.   We can reconfigure those same
                                                                        20   facilities back to family detention so that we
                                                                        21   could, yes.
                                                                        22       Q.   Okay.     When did the Biden


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                                                                        1    February of 2021 as the director of ERO, when
                                                                        2    was it communicated to you that it was decided
                                                                        3    that ICE would stop housing family units?
                                                                        4               MR. DARROW:     Objection.
                                                                        5        A.     We had multiple discussions, I would
                                                                        6    say over the course of 2021, where we would get
                                                                        7    the best bang for our buck out of our detention
                                                                        8    facilities to include the FRCs for a number of
                                                                        9    reasons.   Border Patrol was in great need of
                                                                        10   additional detention beds.        So, I think we
                                                                        11   actually converted back and forth from family to
                                                                        12   adults a couple of times at places like Diley to
                                                                        13   try to maximize the utilization of those beds.
                                                                        14   So, I don't recall like a single point in time
                                                                        15   when the administration, you know, directed
                                                                        16   anybody to end family detention.
                                                                        17       Q.     Who inside ICE would have knowledge
                                                                        18   about the decision regarding detention of family
                                                                        19   units?
                                                                        20              MR. DARROW:     Objection.
                                                                        21       A.     Again, I -- I would have some
                                                                        22   knowledge because we did have discussions that


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                                                                        1    were more, I would say, logistical in nature,
                                                                        2    where we were going to get the best bang for our
                                                                        3    buck and then, so I would have some of that
                                                                        4    knowledge.
                                                                        5        Q.   Who beside you?
                                                                        6        A.   Acting Director Johnson would have
                                                                        7    knowledge.   Peter Berg, who is the Acting Deputy
                                                                        8    Executive Associate Director would have
                                                                        9    knowledge.   Chief of Staff -- well, former Chief
                                                                        10   of Staff Tim Perry would have knowledge, and I
                                                                        11   believe former Deputy Director Matt Allen.        I
                                                                        12   don't know if PJ Lechleiter was in place at the
                                                                        13   time, but if he was, then he would have
                                                                        14   knowledge.
                                                                        15       Q.   Okay.    I'm going to show you an E-mail
                                                                        16   then I'm going to mark for identification as
                                                                        17   Exhibit, I think it's 9 to your deposition.
                                                                        18   Exhibit 9 is a border patrol E-mail that you're
                                                                        19   not copied on that recounts a conversation
                                                                        20   between someone -- and I can't tell you who
                                                                        21   because it's blacked out -- at ERO and someone
                                                                        22   at Border Patrol -- and I can't tell you who at


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                                                                        1        A.   I can't speak to that because ICE
                                                                        2    isn't issuing those paroles.         That's being
                                                                        3    handled by Border Patrol.       So, I would have to
                                                                        4    defer to Border Patrol on how they're -- they're
                                                                        5    instituting their case-by-case decisions.
                                                                        6        Q.   Okay.    But detention is not an option?
                                                                        7        A.   For family units right now today,
                                                                        8    detention is not an option.
                                                                        9        Q.   Under the Trump administration, parole
                                                                        10   had been significantly curtailed, right?
                                                                        11            MR. DARROW:      Objection.
                                                                        12       A.   I don't know, to the extent of what
                                                                        13   CBP was, you know, issuing for all under that
                                                                        14   administration.   I can't speak to that, I'm
                                                                        15   sorry.
                                                                        16       Q.   Okay.    Now, are you familiar with a
                                                                        17   concept called expedited removal?
                                                                        18       A.   I am.
                                                                        19       Q.   What is expedited removal?
                                                                        20       A.   Expedited removal is an authority that
                                                                        21   an immigration officer can use when that
                                                                        22   individual is eligible for expedited removal


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                                                                        1    Like, they can't make a normal phone call to
                                                                        2    whoever they want, but it is a way to
                                                                        3    communicate with their deportation officer or
                                                                        4    the contractor, and I believe it also can make
                                                                        5    like emergency calls to 911, yes.
                                                                        6        Q.   Okay.   Thank you for clearing that up.
                                                                        7    Now, before ERO made its decision to terminate
                                                                        8    family detention, none of its FRC facilities
                                                                        9    were having capacity issues, were they?
                                                                        10            MR. DARROW:      Objection.
                                                                        11       A.   Our FRCs have had a number of
                                                                        12   challenges ever since inception, but the
                                                                        13   majority of them have revolved around not
                                                                        14   necessarily the capacity, because we've never
                                                                        15   been able to detain people long enough to
                                                                        16   actually need more capacity.         We have -- there's
                                                                        17   been a court order that's a Flores decision that
                                                                        18   limits our ability to detain to under twenty-one
                                                                        19   days, so essentially twenty days.           So, that's --
                                                                        20   that's where our biggest limitations have been.
                                                                        21       Q.   Okay.   And that's -- you can only
                                                                        22   detain a juvenile twenty-one days.


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                                                                        1    is going out and contracting -- signing a
                                                                        2    multimillion-dollar contract to put aliens in
                                                                        3    hotels, right?
                                                                        4               MR. DARROW:      Objection.
                                                                        5          A.   Correct.
                                                                        6          Q.   Right.   Now, the Biden administration
                                                                        7    has not only ended family detention, the Biden
                                                                        8    administration have cut ICE's detention capacity
                                                                        9    significantly, correct? Objection.
                                                                        10         A.   There have been some facilities that
                                                                        11   have that have closed or otherwise had contracts
                                                                        12   terminated while we've had other facilities that
                                                                        13   have been stood up.      So, I don't know off the
                                                                        14   top of my head what the total net number of beds
                                                                        15   is.   Unfortunately, we've had a lot of
                                                                        16   litigation that has, you know, hampered our
                                                                        17   ability to detain at some facilities.              So, I'd
                                                                        18   have to get some more details on that.
                                                                        19         Q.   I'm going to -- why don't we take a
                                                                        20   break?
                                                                        21         A.   Sounds good.
                                                                        22              VIDEOGRAPHER:       It's 12:29 and we are


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                                                                        1    requirements of parole, right?
                                                                        2              MR. DARROW:     Objection.
                                                                        3        A.    Yes.
                                                                        4        Q.    Okay.   And so, despite that
                                                                        5    requirement, or that requirement of mandatory
                                                                        6    detention, the Biden administration sought to
                                                                        7    reduce ICE's detention capacity, correct?
                                                                        8              MR. DARROW:     Objection.
                                                                        9        A.    I don't know what went into the
                                                                        10   methodology used in this, but I can tell you
                                                                        11   that we've never been in a position to detain
                                                                        12   everybody who has come across the southwest
                                                                        13   border.
                                                                        14       Q.    I appreciate that.         But my question
                                                                        15   was that in the -- with the mandatory detention
                                                                        16   subject of parole, with a historic surge of
                                                                        17   aliens across the border, the Biden
                                                                        18   administration's response was to reduce
                                                                        19   detention capacity, correct?
                                                                        20             MR. DARROW:     Objection.
                                                                        21       A.    It appears so.
                                                                        22       Q.    Okay.   So, looking at that document


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                                                                         1    the individual is from, I mean, a number of
                                                                         2    factors would go into that and an officer would
                                                                         3    make a decision whether to de-escalate or even
                                                                         4    escalate the form of supervision they're under.
                                                                         5        Q.     Okay.   Have aliens that were paroled
                                                                         6    and granted ATD been taken off ATD before they
                                                                         7    have gone to ICE and completed their immigration
                                                                         8    interview and gotten into -- gotten a notice to
                                                                         9    appear?
                                                                         10              MR. DARROW:     Objection.
                                                                         11       A.     I don't know if any have or not.       Some
                                                                         12   ATDs were done via mailout.         So, I just don't
                                                                         13   have that data.
                                                                         14       Q.     Okay.   If you want to turn back to
                                                                         15   Exhibit 18, are you familiar with something
                                                                         16   known as Operation Horizon?
                                                                         17       A.     I am.
                                                                         18       Q.     All right.    What was Operation
                                                                         19   Horizon?
                                                                         20       A.     Operation Horizon was an operation
                                                                         21   that we put together in ICE ERO to address the
                                                                         22   outcome of the parole plus ATD and before that,


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                                                                         1    the NTR that was occurring.         So, essentially,
                                                                         2    the individuals that were paroled or otherwise
                                                                         3    released that didn't have a charging document,
                                                                         4    ERO officers primarily, it did include some from
                                                                         5    HSI, but it was -- the vast majority was ICE ERO
                                                                         6    officers completing mailout NTAs when they
                                                                         7    could.   For those that they could not to do
                                                                         8    mailout, they would bring into the office to do
                                                                         9    an NTA in person and they would also go out and
                                                                         10   target and arrest those that were at large that
                                                                         11   were not complying with the terms of it.          This
                                                                         12   was largely accomplished on overtime, as opposed
                                                                         13   to, you know, during their normal course of
                                                                         14   duty.
                                                                         15       Q.     Okay.   So, Operation Horizon was ERO's
                                                                         16   effort to get the backlog kind of at least into
                                                                         17   a more -- a better posture.         Let's just say
                                                                         18   better posture.
                                                                         19       A.     Yes.
                                                                         20       Q.     Okay.   There still is -- even after
                                                                         21   Operation Horizon, there still is a backlog,
                                                                         22   correct?


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                                                                         1          A.    Yes.
                                                                         2          Q.    Okay, all right.        And every thirty
                                                                         3    days that DHS continues parole plus ATD, it's
                                                                         4    going to take another year and cost $8 million
                                                                         5    more to clear the backlog, correct?
                                                                         6                MR. DARROW:      Objection.
                                                                         7          A.    I don't know if those figures are
                                                                         8    accurate.
                                                                         9          Q.    Well, let's look at SAR 262.
                                                                         10         A.    Okay.   That's the Exhibit 7?
                                                                         11         Q.    Exhibit 18, yeah.
                                                                         12         A.    262?
                                                                         13         Q.    Yep.    And again, I can't give you the
                                                                         14   names of who's sending these E-mails, and I
                                                                         15   don't even know if they're ERO or not ERO or who
                                                                         16   they are.   I know they're ICE because I do have
                                                                         17   the part of their E-mail address that has ICE in
                                                                         18   it.   But if you look at the second E-mail on the
                                                                         19   chain on this page, which is an E-mail dated May
                                                                         20   5th of 2022, basically, every thirty days p-plus
                                                                         21   ATD continues, this is this cost us about a year
                                                                         22   and $8 million, right?


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                                                                         1                MR. DARROW:     Objection.
                                                                         2        A.      That's what this reflects as of May
                                                                         3    5th, yes.
                                                                         4        Q.      Okay.   Was Operation Horizon completed
                                                                         5    before May 5th, or was it continuing going on?
                                                                         6        A.      No, it's ongoing and we run different
                                                                         7    sprints with Operation Horizon.
                                                                         8        Q.      Okay.
                                                                         9        A.      I don't anticipate it ending until
                                                                         10   we've addressed the entire backlog.
                                                                         11       Q.      Okay, all right.       And if you look
                                                                         12   down, there's a chart at the bottom of page SAR
                                                                         13   262 of Exhibit 18.     It is saying that if parole
                                                                         14   plus ATD continued for ninety days beyond May
                                                                         15   5th, it would take five and a half years to
                                                                         16   clear the backlog and cost $49 million, correct?
                                                                         17               MR. DARROW:     Objection.
                                                                         18       A.      That's correct.
                                                                         19       Q.      And that would be five and a half
                                                                         20   years to start the immigration process with
                                                                         21   respect to the people that have been paroled
                                                                         22   plus ATD, right?


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                                                                         1    alternatives for detention or detention?
                                                                         2        A.     Greater accountability?             Detention.
                                                                         3    However, alternatives to detention is a fraction
                                                                         4    of the cost.     So, I believe the average is
                                                                         5    around the $7 a day to have somebody on ATD as
                                                                         6    opposed to, I believe, it's around $130 a day to
                                                                         7    keep somebody in detention.
                                                                         8        Q.     So, per dollar spent, ICE is able to
                                                                         9    have more non-citizens in alternatives for
                                                                         10   detention than it could if that same amount of
                                                                         11   money was spent on detention?
                                                                         12       A.     Yes.    I mean, we have what roughly
                                                                         13   300,000 on ATD today.        We have approximately
                                                                         14   26,000 in custody.      So, obviously, we're able to
                                                                         15   keep tabs, you know, for lack of a better term,
                                                                         16   on more than 10 times the number today.
                                                                         17       Q.     We talked a bit about the parole ATD
                                                                         18   program.   In that program, which agency makes
                                                                         19   the decision whether to release the non-citizen?
                                                                         20       A.     On the parole plus ATD program?
                                                                         21   Border Patrol.
                                                                         22       Q.     Okay.    What's ICE's role in that


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                                                                         1    program?
                                                                         2        A.     If the determination is made that that
                                                                         3    person is going to be released, then ICE -- an
                                                                         4    officer would come in, review that case for that
                                                                         5    individual to see what form of ATD would be
                                                                         6    appropriate, and then they would go ahead and do
                                                                         7    that.   And not all cases are going to get
                                                                         8    electronic monitoring.      We have limitations on
                                                                         9    you know, the number and also there's things
                                                                         10   like, again, like I mentioned earlier, if we
                                                                         11   have somebody who is a say a minor, or somebody
                                                                         12   who is pregnant, they're not going to have say
                                                                         13   an ankle bracelet.    So, we can't just put that
                                                                         14   on everybody.
                                                                         15       Q.     With the family residential centers
                                                                         16   that ICE formerly had --
                                                                         17       A.     Yes.
                                                                         18       Q.     -- what were some of the factors that
                                                                         19   limited the ability to maximize use of all the
                                                                         20   space in family residential centers when they
                                                                         21   were in operation?
                                                                         22       A.     A number of factors.          So, we have


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                                                                         1    litigation, of course, like I had mentioned
                                                                         2    before, but one of the biggest drivers I would
                                                                         3    say would be because of COVID and the
                                                                         4    restrictions that were put in place because of
                                                                         5    COVID.    We also have logistical concerns.            If
                                                                         6    somebody is arrested in say California, you
                                                                         7    can't necessarily get them to an FRC.              They
                                                                         8    would have to sit with Border Patrol for several
                                                                         9    days until they can get a flight for us to fly
                                                                         10   them down to, you know, South Texas to be held
                                                                         11   at one of our FRCs.      Like I said, there's a
                                                                         12   variety of things that impact, you know, our
                                                                         13   ability to maximize all of our beds.               You have
                                                                         14   things like the -- the demographics of the
                                                                         15   family unit itself and, you know, I'm not the
                                                                         16   expert.   I would defer to my Custody Division to
                                                                         17   give you all the, you know, facts there.              But if
                                                                         18   you have, say, a dual head of household mom and
                                                                         19   dad with a 6-year-old girl, they're not going to
                                                                         20   be able to be held in the same dorm, as say, a
                                                                         21   dad with a 13-year-old son.          So, those also kind
                                                                         22   of limit our ability to how many -- how many


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                                                                         1    people we can put into facility.
                                                                         2           Q.   Are there fewer limitations with
                                                                         3    detention of single adults?
                                                                         4           A.   There are still limitations, but there
                                                                         5    are fewer than with family.           That's -- that's
                                                                         6    for sure.
                                                                         7           Q.   We talked about the Flores consent
                                                                         8    decree.     That's been in place for decades,
                                                                         9    right?
                                                                         10          A.   Yes.
                                                                         11          Q.   And throughout that entire period of
                                                                         12   time, ICE always had to release family units
                                                                         13   before that 21-day mark?
                                                                         14          A.   Oh, yes.
                                                                         15          Q.   And when ICE had to release those
                                                                         16   aliens before that 21-day mark, they were then
                                                                         17   always being placed on the non-detained docket?
                                                                         18          A.   They'd be on the non-detained docket,
                                                                         19   yes.
                                                                         20          Q.   Okay.   During the period of time when
                                                                         21   family units were being temporarily held in
                                                                         22   hotels, were they still being detained by ICE


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                                                                         1    during that period?
                                                                         2        A.     Yes.
                                                                         3        Q.     Have the changes to ensuring the
                                                                         4    accountability of family units impacted ICE's
                                                                         5    ability to determine the whereabouts and ensure
                                                                         6    the accountability of those family units?
                                                                         7        A.     Can you say that one more time?
                                                                         8        Q.     Sure.   Have the changes to ICE's
                                                                         9    ability to detain family units impacted ICE's
                                                                         10   ability to ensure the whereabouts and the
                                                                         11   accountability of those family units?
                                                                         12       A.     I mean, we're ATD on them, so we're
                                                                         13   still, you know, tracking where their locations
                                                                         14   are, whether they're in custody or out of
                                                                         15   custody.
                                                                         16       Q.     Are all non-citizens who are caught
                                                                         17   entering the country illegally subject to
                                                                         18   mandatory detention under INA 235?
                                                                         19       A.     I do not believe so.          I would have to
                                                                         20   consult with OPLA to verify but no, I do not
                                                                         21   believe they all are.
                                                                         22       Q.     They might be subject to other


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                                                                         1    detention authority?
                                                                         2        A.      Correct.
                                                                         3        Q.      Do you know what that would be?
                                                                         4        A.      I don't know the -- the actual
                                                                         5    citation.   I would have to consult with OPLA to
                                                                         6    get that.
                                                                         7        Q.      That authority would allow other
                                                                         8    release options besides just parole for those
                                                                         9    aliens?
                                                                         10       A.      Yes.
                                                                         11       Q.      What would those release options be?
                                                                         12       A.      The same that we use now when we
                                                                         13   release somebody on a bond or order
                                                                         14   reconnaissance or supervision and then place ATD
                                                                         15   along with it, we can still use that.
                                                                         16       Q.      Okay, that's it for me.           Thank you.
                                                                         17       EXAMINATION BY COUNSEL FOR PLAINTIFF
                                                                         18   BY MR. GUARD:
                                                                         19       Q.      All right, I have a few questions.
                                                                         20       A.      Yes, sir.
                                                                         21       Q.      You talked about expulsions?
                                                                         22       A.      Yes.


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